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                                  5                             IN THE UNITED STATES DISTRICT COURT
                                  6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                  8     CHRISTINA J. HANSON,                          Case No. 22-cv-01084-CRB
                                  9                   Plaintiff,
                                                                                      JUDGMENT
                                  10            v.
                                  11    CHARLES DOWLING, et al.,
                                                      Defendants.
Northern District of California




                                  12
 United States District Court




                                  13          Having adopted Magistrate Judge Beeler’s report and recommendation in full and
                                  14   dismissed this case, see Order (dkt. 23), the Court hereby enters judgment for Defendants
                                  15   and against Plaintiff.
                                  16          IT IS SO ORDERED.
                                  17          Dated: June 24, 2022
                                                                                       CHARLES R. BREYER
                                  18                                                   United States District Judge
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